                                                                        CLERK'S OFFICE U.S. OIST. COURT
                                                                                AT ROANOKE, VA
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                             UNITED STATES DISTRICT COURT                       D-"'   .., ..
                             WESTERN DISTRICT OF VIRGINIA                  JUL~~ o u:- _:: {, CLEFiX
                                  ROANOKE DIVISION                        BY:    lt
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 UNITED STATES OF AMERICA                             )
                                                      )
         v.                                           )       Criminal No.:   ·1. I g ULS7
                                                      )
 SHAROCK DEMETRIUS STARKEY                            )


                                       MOTION TO SEAL


        Comes now the United States of America through its attorney and requests that the above-

 captioned indictment be sealed.

        1. The government states that the disclosure of the above-captioned indictment would

 jeopardize the investigation and capture of the defendant.

        2. The government requests that the indictment be sealed for 30 days or until the arrest of

 the defendant, whichever is sooner.

                                                      Respectfully submitted,

                                                      THOMAS T. CULLEN
                                                      United States Attorney


 Date: December 13, 2018

                                                      R. Andrew Bassford
                                                      Assistant United States Attorney




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